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 5
                                    UNITED STATES DISTRICT COURT
 6
                                           DISTRICT OF NEVADA
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 8   UNITED STATES OF AMERICA,                 )
                                               )
 9                     Plaintiff,              )                  Case No. 2:16-cr-00046-GMN-PAL
                                               )
10   vs.                                       )
                                               )                  ORDER
11   RYAN BUNDY,                               )
                                               )                  Re: Defendant’s Exhibit List for
12                     Defendant.              )                      Detention Hearing
     __________________________________________)
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            This matter is before the Court on Defendant’s Detention Hearing Exhibit List (ECF No. 1326),
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     filed on January 17, 2017. Defendant describes the following exhibits as “Exhibit in support”: G, H, J,
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     K, L, M, N, O, P, Q, R and S. This is not a sufficient description of the alleged relevance of such
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     exhibits and the Court will not allow Defendant to introduce them. The Court will await any objection
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     by the Government to Defendant’s other exhibits before it determines whether to permit their
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     introduction.
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            IT IS SO ORDERED.
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            DATED this 18th day of January, 2017.
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                                                  ______________________________________
23                                                GEORGE FOLEY, JR.
                                                  United States Magistrate Judge
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